         Case 1:19-cr-00148-CKK Document 95 Filed 07/14/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
        v.
                                                        Criminal No. 19-148-1 (CKK)
PRAKAZREL MICHEL,
       Defendant.


                                             ORDER
                                          (July 14, 2021)

       Upon consideration of the Government’s [91] Motion to Amend Defendant’s Release

Conditions, which Defendant does not oppose, it is hereby ORDERED that:

       Defendant’s current conditions of release are hereby modified to include the following

condition: “The defendant shall not contact, directly or indirectly, any potential witness identified

in Exhibit A (see ECF No. 93), either personally or through a third party. For purposes of trial

preparation, this condition does not prohibit the defendant from contacting any potential witness

through the defendant’s counsel or while in the presence of the defendant’s counsel.”

       It is FURTHER ORDERED that all of Defendant’s additional conditions of release, in

effect before this order, remain operative and unchanged.

       SO ORDERED.

Dated: July 14, 2021
                                                          /s/
                                                      COLLEEN KOLLAR-KOTELLY
                                                      United States District Judge




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